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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GIANNIS ANTETOKOUNMPO

                      Plaintiff,                   20        CV                5055 (JGK)

                                                   ORDER
          - against                            ~   ~·- ··- ... -... - ---~--
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KENNETH SEARCY

                      Defendant.
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JOHN G. KOELTL, District Judge:                ;!~~.: ...·:· · - . -- -TolPi/J-dtrO
     This Court entered an Order t o Show Cause why a Default

Judgment should not be entered on September 9 , 2020 .                                                It was

supported by a Clerk ' s Certificate of Default against the

defendant Kenneth Searcy , doing business as Nomercy50 , do i ng

business as Musicarthistor y . The defendant failed to respond to

the Order to Show Cause for a De f ault Judgment . Therefore , the

plaintiff is entitled to a Default Judgment . The matter is

referred to the Magistrate Judge for an inquest to determine the

appropriate judgment.


SO ORDERED.

Dated:    New York, New York
          October 19, 2020
                                              John G. Koeltl
                                       United States District Judge
